Case 0:16-cv-61729-DPG Document 32 Entered on FLSD Docket 01/17/2017 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                              CASE NO: 16-cv-61729-GAYLES

  SYMBOLOGY INNOVATIONS, LLC,
      Plaintiff,
  v.

  BROTHER INTERNATIONAL
  CORPORATION,
        Defendant.
  _____________________________________/

                                  ORDER OF DISMISSAL

        THIS CAUSE comes before the Court on the parties’ Stipulation of Dismissal [ECF No.

  31]. Being fully advised, it is ORDERED AND ADJUDGED that this action is DISMISSED

  WITH PREJUDICE. All parties shall bear their own attorney’s fees and costs.

        This action remains CLOSED and all pending motions are DENIED AS MOOT.

        DONE AND ORDERED in Chambers at Miami, Florida, this 17th day of January, 2017.




                                            ________________________________
                                            DARRIN P. GAYLES
                                            UNITED STATES DISTRICT JUDGE
